                                                                                           07/18/2018


                            UNITED STATES DISTRICT COURT
        WESTERN DISTRICT OF VIRGINIA, CHARLOTTESVILLE DIVISION


                                              )
CHRISTOPHER CANTWELL,                          )
Plaintiff/Counter-Defendant                   )
                                              )
v.                                            )              3:17-CV-00089 (NKM-JCH)
                                              )
EMILY GORCENSKI,                               )
KRISTOPHER GOAD,                               )
Defendants/Counter-Claimants                  )
                                              )


                       AGREEED ORDER TO STAY PROCEEDINGS



WHEREAS the Parties agree that there is good cause to enter a stay of the proceedings in the

above-captioned matter and that such a stay is proper pending resolution of the criminal

proceedings in the matters of Commonwealth v. Christopher Cantwell, (CR17000784 and

CR17000785) which are currently pending before the Circuit Court of Albemarle County,

Virginia,



The Court finds that there is good cause to stay these proceedings and it is hereby ORDERED

that the proceedings in this matter shall be stayed,



The Court further ORDERS that any response to and ruling upon any and all motions

currently pending before the Court in this matter shall also be stayed,




                                                   1
The Court further ORDERS that this stay shall remain in full force and effect until one week

following the conclusion of the criminal proceedings currently pending before the Circuit Court

for Albemarle County, Virginia. Within one week following the conclusion of the criminal

proceedings, the parties shall file a status report with the Court.




Upon lifting of the stay, the Court will hold a conference with the parties to set a schedule for

briefing the pending motions and a schedule for the case deadlines, including a trial date.



       Entered this 19th day of July, 2018.



                                       UNITED STATES MAGISTRATE JUDGE




                                                  2
